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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


                                                       §
Leila Green Little, et al.,                            §
                                                       §
      Plaintiffs,                                      §   Civil Action No. 1:22-cv-00424-RP
                                                       §
              v.                                       §   [PROPOSED] ORDER GRANTING
                                                       §   PLAINTIFFS’ OPPOSED MOTION TO
Llano County, et al.,                                  §   COMPEL AND FOR SANCTIONS
                                                       §
      Defendants.                                      §
                                                       §


        The Court, having reviewed all materials submitted in support of Plaintiffs’ Opposed

Motion to Compel and for Sanctions (“Motion”), and all other pleadings and arguments by

counsel properly before the Court, and after careful consideration, hereby GRANTS Plaintiffs’

Motion, and ORDERS:

        1.      The Court finds that Defendant Wallace failed to appear at the time and place

properly noticed for her deposition;

        2.      The Court finds that Defendant Wallace had no justification for her failure to

appear at the time and place properly noticed for her deposition;

        3.      Defendant Wallace must appear for her deposition on or before March 29, 2023,

subject to Defendant Wallace’s availability; and

        4.      Defendant Wallace and her counsel must pay the reasonable expenses, including

attorney’s fees, caused by Defendant Wallace’s failure to attend her deposition.




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IT IS SO ORDERED.



Dated: _____________________
                                          Hon. Robert Pitman
                                          United States District Judge




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